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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

FLAGSTONE DEVELOPMENT, LLC,                   Cause No. CV-08-100-BLGRFC
an Arizona limited liability company,
and LAWRENCE A. HEATH,
                                Plaintiffs,
            -vs-
WAYNE JOYNER, JUSTIN JOYNER,
as individuals; ROCKY MOUNTAIN
TIMBERLANDS, LLC, a Montana
limited liability company, WAYNE              DEFENDANT AMERICAN TITLE
MARCHWICK, AMERICAN TITLE                           AND ESCROW’S
AND ESCROW, a Montana corpor-                    MOTION TO EXCLUDE
ation, FIRST AMERICAN TITLE                      PLAINTIFFS' DAMAGES
COMPANY, a California corporation,                 EXPERT GRABOIS
DEVELOPER FINANCE CORPOR-
ATION, a Massachusetts corporation,
NICHOLAS POWERS, III, a/k/a
NICHOLAS D. POWERS, JAKE
KORELL, LANDMARK OF BILLINGS,
INC., a Montana corporation, JON
USSIN, U BAR S REAL ESTATE, a
Montana corporation, and JOHN
DOES 11 through 30,
                         Defendants.
      Defendant American Title & Escrow respectfully requests the exclusion
of testimony or evidence from Plaintiffs' damages expert, Dale Grabois.
Grabois' alleged expert opinion lacks the necessary reliability to be admissible
under the requirements of Rule 702 of the Federal Rules of Evidence and the
case law interpreting it, including Daubert v. Merrell Dow Pharmaceuticals,
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Inc., 509 U.S. 579, 597 (1993).      The accompanying Combined Brief in
Support of Partial Motion for Summary Judgment on Damages and Motion to
Exclude Plaintiffs' Damages Expert Dale Grabois more fully supports this
Motion.
     Plaintiffs object to this Motion.


     DATED this 7th day of August, 2011.
                                    MOULTON BELLINGHAM PC

                                    s/s Gerry Fagan
                                    Attorney for Defendant
                                    American Title and Escrow




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                       CERTIFICATE OF SERVICE
      I hereby certify that on the 7th day of August, 2011, a copy of the
foregoing document was served on the following persons by the following
means:

                                                                 Overnight
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ND: 4838-2924-5706, v. 1




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